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 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div href="/vid/890110638" data-vids="890110638" class="ldml-header header ldml-header content__heading content__heading--depth1" data-content-heading-label="Header"&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;486 P.3d 269&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-party"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-name"&gt;Shaun David Keller LAWRENCE&lt;/span&gt;, &lt;span class="ldml-role"&gt;Petitioner&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;v.&lt;/b&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;The PEOPLE of the State of Colorado&lt;/span&gt;, &lt;span class="ldml-role"&gt;Respondent&lt;/span&gt;&lt;/span&gt;.&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;Supreme Court &lt;span class="ldml-cite"&gt;Case No. 19SC556&lt;/span&gt; &lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-court"&gt;Supreme Court of Colorado&lt;/span&gt;.&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-date"&gt;&lt;b class="ldml-bold"&gt;May 10, 2021&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-date"&gt;&lt;b class="ldml-bold"&gt;Rehearing Denied June 1, 2021&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-counsel header ldml-header content__heading content__heading--depth1" data-content-heading-label="Counsel"&gt;&lt;p data-paragraph-id="200" class="ldml-paragraph no-indent mt-2"&gt;&lt;span data-paragraph-id="200" data-sentence-id="200" class="ldml-sentence"&gt;Attorneys for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Petitioner&lt;/span&gt;&lt;/span&gt;: &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Megan A. Ring&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Public Defender&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Jessica A. Pitts&lt;/span&gt;&lt;/span&gt;, Deputy &lt;span class="ldml-entity"&gt;Public Defender&lt;/span&gt;, Denver, Colorado&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="316" class="ldml-paragraph no-indent mt-2"&gt;&lt;span data-paragraph-id="316" data-sentence-id="316" class="ldml-sentence"&gt;Attorneys for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Respondent&lt;/span&gt;&lt;/span&gt;: &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Philip J. Weiser&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Attorney General&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Brittany L. Limes&lt;/span&gt;&lt;/span&gt;, Assistant &lt;span class="ldml-entity"&gt;Attorney General&lt;/span&gt;, Denver, Colorado&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="441" class="ldml-paragraph no-indent mt-2"&gt;&lt;span data-paragraph-id="441" data-sentence-id="441" class="ldml-sentence"&gt;Attorneys for &lt;span class="ldml-lawyerrole"&gt;Amicus Curiae&lt;/span&gt; &lt;span class="ldml-entity"&gt;Tung Chang&lt;/span&gt;, Securities Commissioner for the &lt;span class="ldml-entity"&gt;State of Colorado&lt;/span&gt;: &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Philip J. Weiser&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Attorney General&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Robert W. Finke&lt;/span&gt;&lt;/span&gt;, First Assistant &lt;span class="ldml-entity"&gt;Attorney General&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Jordanna L. Haskins&lt;/span&gt;&lt;/span&gt;, Senior Assistant &lt;span class="ldml-entity"&gt;Attorney General&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Janna K. Fischer&lt;/span&gt;&lt;/span&gt;, Assistant &lt;span class="ldml-entity"&gt;Attorney General&lt;/span&gt;, Denver, Colorado&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="737" class="ldml-paragraph no-indent mt-2"&gt;&lt;span data-paragraph-id="737" data-sentence-id="737" class="ldml-sentence"&gt;Attorneys for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyerrole"&gt;Amicus Curiae&lt;/span&gt; North American Securities Administrators Association, Inc.&lt;/span&gt;: &lt;span class="ldml-lawfirm"&gt;Ballard Spahr LLP&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Theodore J. Hartl&lt;/span&gt;&lt;/span&gt;, Denver, Colorado&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;h2 class="ldml-opinionheading"&gt;&lt;span data-paragraph-id="879" class="ldml-paragraph "&gt;&lt;span class="ldml-judgepanel"&gt;&lt;span data-paragraph-id="879" data-sentence-id="879" class="ldml-sentence"&gt;En Banc&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/h2&gt;&lt;div class="ldml-opinion"&gt;&lt;p data-paragraph-id="886" class="ldml-paragraph no-indent mt-4"&gt;&lt;span class="ldml-opinionauthor content__heading content__heading--depth1" data-content-heading-label="Opinion (GABRIEL)"&gt;&lt;span data-paragraph-id="886" data-sentence-id="886" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;GABRIEL&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-opiniontype"&gt;delivered &lt;span class="ldml-entity"&gt;the Opinion of &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="937" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="937" data-sentence-id="937" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_937"&gt;&lt;span class="ldml-cite"&gt;¶1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;This prosecution&lt;/span&gt; for securities fraud and theft requires &lt;span class="ldml-entity"&gt;us&lt;/span&gt; to address three questions.&lt;/span&gt; &lt;span data-paragraph-id="937" data-sentence-id="1028" class="ldml-sentence"&gt;First, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; must decide whether the agreement entered into by &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt; &lt;span class="ldml-entity"&gt;Shaun Lawrence&lt;/span&gt; and the victim, D.B., was an investment contract and therefore a security for purposes of the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;Colorado Securities Act &lt;span class="ldml-parenthetical"&gt;(the &lt;span class="ldml-quotation quote"&gt;"Act"&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;§§ 11-51-201&lt;span class="ldml-parenthetical"&gt;(17)&lt;/span&gt;, - 501&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2020&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="937" data-sentence-id="1287" class="ldml-sentence"&gt;Second, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; must consider the limits of expert testimony offered by the Colorado Securities Commissioner in &lt;span class="ldml-entity"&gt;a case&lt;/span&gt; like this one.&lt;/span&gt; &lt;span data-paragraph-id="937" data-sentence-id="1416" class="ldml-sentence"&gt;And third, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; must decide the proper remedy when &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; incorrectly instructs the jury regarding the value of the property taken and that value was disputed at trial.&lt;a href="#note-fr1" class="ldml-noteanchor" id="note-ref-fr1"&gt;1&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-pagenumber" data-vol="486" data-rep="P.3d" data-id="pagenumber_1592" data-page_type="bracketed_cite" data-val="272"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="1592" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="1592" data-sentence-id="1593" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_1593"&gt;&lt;span class="ldml-cite"&gt;¶2&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; now conclude first that an investment contract is a contract, transaction, or scheme whereby &lt;span class="ldml-entity"&gt;people&lt;/span&gt; invest their money in a common enterprise and are led to expect profits derived substantially from the entrepreneurial or managerial efforts of others, on whose honesty and skill the investors have relied to manage their money.&lt;/span&gt; &lt;span data-paragraph-id="1592" data-sentence-id="1927" class="ldml-sentence"&gt;Applying this definition here, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that the agreement at issue was an investment contract and therefore a security.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="2050" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="2050" data-sentence-id="2050" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_2050"&gt;&lt;span class="ldml-cite"&gt;¶3&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Next, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that in assessing the proper scope of the expert testimony at issue under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;C.R.E. 702 and 704&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; must consider, among other things, the four factors set forth in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894785282" data-vids="894785282" class="ldml-reference" data-prop-ids="sentence_2050"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Rector&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;248 P.3d 1196, 1203&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2011&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, namely, whether &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; the expert's testimony was clarified on cross-examination; &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; the expert expressed an opinion as to the applicable law or legal standards, thereby usurping the function of &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;; &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; the jury was properly instructed on the law and that it may accept or reject the expert's opinion; and &lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt; the expert opined that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; committed the crime or that a particular likelihood existed that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; did so.&lt;/span&gt; &lt;span data-paragraph-id="2050" data-sentence-id="2724" class="ldml-sentence"&gt;Applying those factors here, although &lt;span class="ldml-entity"&gt;we&lt;/span&gt; perceive the issue to be close, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that the Commissioner's testimony was admissible, and even if one could perceive error, any error by &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; in admitting that testimony was harmless.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="2967" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="2967" data-sentence-id="2967" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_2967"&gt;&lt;span class="ldml-cite"&gt;¶4&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Finally, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that when, as here, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; erroneously instructs the jury as to the value of the property taken and that value was disputed at trial, the proper remedy is to remand &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; with instructions that &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; may elect to retry the theft charge as a whole or to agree to the entry of judgment based on the lowest degree of theft supported by the jury's verdict &lt;span class="ldml-parenthetical"&gt;(here, a class 1 misdemeanor)&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="3395" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="3395" data-sentence-id="3395" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_3395"&gt;&lt;span class="ldml-cite"&gt;¶5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; affirm the judgment of the division below.&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-specifier="I" data-id="heading_3456" data-types="background" data-confidences="very_high" data-ordinal_start="1" data-parsed="true" data-format="upper_case_roman_numeral" data-value="I. Facts and Procedural History" data-ordinal_end="1" id="heading_3456" data-content-heading-label="I. Facts and Procedural History"&gt;&lt;span data-paragraph-id="3456" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="3456" data-sentence-id="3456" class="ldml-sentence"&gt;I.&lt;/span&gt; &lt;span data-paragraph-id="3456" data-sentence-id="3459" class="ldml-sentence"&gt;Facts and Procedural History&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="3487" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="3487" data-sentence-id="3487" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_3487"&gt;&lt;span class="ldml-cite"&gt;¶6&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Lawrence met D.B. at a casino, where &lt;span class="ldml-entity"&gt;she&lt;/span&gt; worked as a cashier.&lt;/span&gt; &lt;span data-paragraph-id="3487" data-sentence-id="3552" class="ldml-sentence"&gt;During their conversations, Lawrence told D.B. that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; ran several successful businesses and that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was looking for &lt;span class="ldml-entity"&gt;people&lt;/span&gt; to work for him and for investors to help grow a private investigations business called Advert Investigations &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"Advert"&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="3487" data-sentence-id="3798" class="ldml-sentence"&gt;D.B. was interested and asked Lawrence if &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was hiring and what the pay would be.&lt;/span&gt; &lt;span data-paragraph-id="3487" data-sentence-id="3881" class="ldml-sentence"&gt;Lawrence responded that the pay was anywhere from $18 to $22.50 per hour but that D.B. would have to complete three hundred hours of training without pay before &lt;span class="ldml-entity"&gt;she&lt;/span&gt; would be paid.&lt;/span&gt; &lt;span data-paragraph-id="3487" data-sentence-id="4061" class="ldml-sentence"&gt;The two then discussed a possible investment by D.B., including how much D.B. would be willing to invest and the interest in the company that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; would receive.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="4221" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="4221" data-sentence-id="4221" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_4221"&gt;&lt;span class="ldml-cite"&gt;¶7&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Several weeks later, Lawrence and D.B. met again, and the two signed an &lt;span class="ldml-quotation quote"&gt;"Investment and Business Agreement."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="4221" data-sentence-id="4333" class="ldml-sentence"&gt;This agreement provided that D.B. would invest $6,000 in exchange for a twenty percent ownership interest in Advert.&lt;/span&gt; &lt;span data-paragraph-id="4221" data-sentence-id="4450" class="ldml-sentence"&gt;The agreement further provided that Lawrence would &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; have an annual independent audit performed and provide the results to D.B.; &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; send to D.B. week-end revenue reports; and &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; notify D.B. of any matter that might affect the business or its revenue flow.&lt;/span&gt; &lt;span data-paragraph-id="4221" data-sentence-id="4710" class="ldml-sentence"&gt;And the agreement stated that Lawrence, D.B., and two others would have decision-making authority as to any matter concerning the business, subject to D.B.'s twenty percent voting power.&lt;/span&gt; &lt;span data-paragraph-id="4221" data-sentence-id="4897" class="ldml-sentence"&gt;Upon signing this agreement, Lawrence instructed D.B. to deposit her $6,000 investment into his personal bank account, and D.B. did so.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="5032" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="5032" data-sentence-id="5032" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_5032"&gt;&lt;span class="ldml-cite"&gt;¶8 A&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; little over three weeks later, Lawrence told D.B. that an investor had dropped out and that an additional ten percent ownership interest in the business had become available.&lt;/span&gt; &lt;span data-paragraph-id="5032" data-sentence-id="5212" class="ldml-sentence"&gt;Lawrence indicated that the cost for the additional share of the company would be $3,000, and D.B. agreed to invest that additional amount.&lt;/span&gt; &lt;span data-paragraph-id="5032" data-sentence-id="5352" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The parties&lt;/span&gt; thus signed a second &lt;span class="ldml-quotation quote"&gt;"Investment and Business Agreement."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="5032" data-sentence-id="5422" class="ldml-sentence"&gt;This agreement voided the prior agreement that the two had signed.&lt;/span&gt; &lt;span data-paragraph-id="5032" data-sentence-id="5489" class="ldml-sentence"&gt;In addition, the agreement provided that, in exchange &lt;span class="ldml-pagenumber" data-vol="486" data-rep="P.3d" data-id="pagenumber_5543" data-page_type="bracketed_cite" data-val="273"&gt;&lt;/span&gt; for an additional equity investment of $3,000, D.B. would obtain a total ownership interest of thirty percent of the business.&lt;/span&gt; &lt;span data-paragraph-id="5032" data-sentence-id="5671" class="ldml-sentence"&gt;And the agreement contained the same disclosure and reporting terms as the prior agreement and substantially the same provision regarding decision-making authority &lt;span class="ldml-parenthetical"&gt;(the only difference being that the language was changed to indicate D.B.'s thirty percent voting power)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="5032" data-sentence-id="5941" class="ldml-sentence"&gt;Again, Lawrence asked D.B. to deposit the investment amount in his personal bank account, and D.B. did so.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="6047" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="6047" data-sentence-id="6047" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_6047"&gt;&lt;span class="ldml-cite"&gt;¶9&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Notably, at no time prior to D.B.'s investments did Lawrence tell her that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; would use the money to pay for personal and gambling expenses.&lt;/span&gt; &lt;span data-paragraph-id="6047" data-sentence-id="6191" class="ldml-sentence"&gt;Nor did &lt;span class="ldml-entity"&gt;he&lt;/span&gt; ever advise her that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had outstanding civil judgments against him totaling over $100,000.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="6293" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="6293" data-sentence-id="6293" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_6293"&gt;&lt;span class="ldml-cite"&gt;¶10&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; At some point after &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; signed the second agreement, Lawrence showed D.B. two options for office space, D.B. selected one of them, and Lawrence rented that space and brought in some cameras and computers.&lt;/span&gt; &lt;span data-paragraph-id="6293" data-sentence-id="6510" class="ldml-sentence"&gt;In addition, Lawrence registered &lt;span class="ldml-quotation quote"&gt;"Advert Investigations"&lt;/span&gt; with the Secretary of State and purchased a series of domain names for the business.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="6651" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="6651" data-sentence-id="6651" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_6651"&gt;&lt;span class="ldml-cite"&gt;¶11&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; During this early phase of &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt;' business relationship, D.B. and Lawrence had occasional communications about the business.&lt;/span&gt; &lt;span data-paragraph-id="6651" data-sentence-id="6786" class="ldml-sentence"&gt;Lawrence even allowed D.B. to complete one service of process job.&lt;/span&gt; &lt;span data-paragraph-id="6651" data-sentence-id="6853" class="ldml-sentence"&gt;And D.B. visited the office several times.&lt;/span&gt; &lt;span data-paragraph-id="6651" data-sentence-id="6896" class="ldml-sentence"&gt;Thereafter, however, Lawrence stopped communicating with D.B., after which D.B. went to the office to see if &lt;span class="ldml-entity"&gt;she&lt;/span&gt; could find anything related to the business there.&lt;/span&gt; &lt;span data-paragraph-id="6651" data-sentence-id="7060" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;She&lt;/span&gt; found the office empty, except for some random paperwork on the desk, a filing cabinet, and a single dusty computer.&lt;/span&gt; &lt;span data-paragraph-id="6651" data-sentence-id="7181" class="ldml-sentence"&gt;As it turned out, Lawrence had withdrawn all of the money that D.B. had invested and spent it on gambling and personal expenses.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="7309" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="7309" data-sentence-id="7309" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_7309"&gt;&lt;span class="ldml-cite"&gt;¶12&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; In light of the foregoing, D.B. filed a complaint with the &lt;span class="ldml-entity"&gt;State Division of Securities&lt;/span&gt;, which subsequently referred &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; to the district attorney's office for &lt;span class="ldml-entity"&gt;prosecution&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="7309" data-sentence-id="7490" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The People&lt;/span&gt; then charged Lawrence with &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; two counts of securities fraud under &lt;span class="ldml-entity"&gt;sections&lt;/span&gt; &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;11-51-501&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt; and 11-51-603&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2020&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;one count was based on Lawrence's failure to disclose that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; would use D.B.'s investment money for personal expenses, including gambling, and the other was based on Lawrence's failure to disclose the outstanding civil judgments against him&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;, and &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; one count of theft under the version of the theft &lt;span class="ldml-entity"&gt;statute&lt;/span&gt; in effect at the time of the crimes at issue, which classified theft of $1,000 or more but less than $20,000 as a class 4 felony.&lt;/span&gt; &lt;span data-paragraph-id="7309" data-sentence-id="8066" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_7490"&gt;&lt;span class="ldml-cite"&gt;§ 18-4-401&lt;span class="ldml-headnoteanchor"&gt;&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2012&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="7309" data-sentence-id="8099" class="ldml-sentence"&gt;Notably, however, after Lawrence committed the alleged offenses but before his case got to trial, &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt; amended the theft &lt;span class="ldml-entity"&gt;statute&lt;/span&gt; to re-classify the levels of theft offenses.&lt;/span&gt; &lt;span data-paragraph-id="7309" data-sentence-id="8284" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8099"&gt;&lt;span class="ldml-cite"&gt;§ 18-4-401&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2020&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="7309" data-sentence-id="8318" class="ldml-sentence"&gt;Under the amended &lt;span class="ldml-entity"&gt;statute&lt;/span&gt;, a conviction for theft of $1,000 or more but less than $20,000 could, depending on the precise value of the thing taken, be classified as anywhere from a class 1 misdemeanor to a class 5 felony.&lt;/span&gt; &lt;span data-paragraph-id="7309" data-sentence-id="8540" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8318"&gt;&lt;span class="ldml-cite"&gt;§ 18-4-401&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(e)&lt;/span&gt;-&lt;span class="ldml-parenthetical"&gt;(g)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="8561" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="8561" data-sentence-id="8561" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8561"&gt;&lt;span class="ldml-cite"&gt;¶13&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Lawrence's case proceeded to trial, and at trial, &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; disputed, among other things, the extent of control that D.B. had exercised in connection with the business.&lt;/span&gt; &lt;span data-paragraph-id="8561" data-sentence-id="8736" class="ldml-sentence"&gt;In particular, &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; argued that D.B. had no experience running a business, that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; was relying completely on Lawrence to do so, and that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; had no authority to control Advert's business.&lt;/span&gt; &lt;span data-paragraph-id="8561" data-sentence-id="8936" class="ldml-sentence"&gt;Lawrence, in contrast, contended that D.B., in fact, had some ability to control the business, as evidenced by her ownership interest, her role in deciding the office's location, the communications and disclosures that were required under &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt;' agreement, and the fact that the agreement contained a provision regarding D.B.'s decision-making authority.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="9296" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="9296" data-sentence-id="9296" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9296"&gt;&lt;span class="ldml-cite"&gt;¶14&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;The parties&lt;/span&gt; also disagreed as to the extent of the alleged theft.&lt;/span&gt; &lt;span data-paragraph-id="9296" data-sentence-id="9366" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The prosecution&lt;/span&gt; argued that Lawrence had stolen all $9,000 of D.B.'s investment, which &lt;span class="ldml-entity"&gt;he&lt;/span&gt; then used for personal and gambling expenses.&lt;/span&gt; &lt;span data-paragraph-id="9296" data-sentence-id="9502" class="ldml-sentence"&gt;Lawrence, in contrast, asserted that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had used at least some of the money for legitimate business purposes.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="9611" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="9611" data-sentence-id="9611" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9611"&gt;&lt;span class="ldml-cite"&gt;¶15&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; And, as pertinent to the issues now before &lt;span class="ldml-entity"&gt;us&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; called &lt;span class="ldml-entity"&gt;Gerald Rome&lt;/span&gt;, then the Securities Commissioner for the &lt;span class="ldml-entity"&gt;Colorado Division of Securities&lt;/span&gt;, to testify as an expert witness.&lt;/span&gt; &lt;span data-paragraph-id="9611" data-sentence-id="9805" class="ldml-sentence"&gt;Among other things, Commissioner Rome testified regarding the &lt;span class="ldml-pagenumber" data-vol="486" data-rep="P.3d" data-id="pagenumber_9867" data-page_type="bracketed_cite" data-val="274"&gt;&lt;/span&gt; general purposes of the securities laws, what qualifies as a security &lt;span class="ldml-parenthetical"&gt;(including an investment contract)&lt;/span&gt;, and the obligation of sellers of securities to provide investors with full and fair disclosures of all material facts.&lt;/span&gt; &lt;span data-paragraph-id="9611" data-sentence-id="10093" class="ldml-sentence"&gt;On this last point, Commissioner Rome explained to the jury the kinds of facts that would be material, including, for example, the background and personal affairs of the persons running the business &lt;span class="ldml-parenthetical"&gt;(such as whether &lt;span class="ldml-entity"&gt;they&lt;/span&gt; had any tax liens or civil judgments pending against them)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="9611" data-sentence-id="10374" class="ldml-sentence"&gt;In addition, over Lawrence's objection, Commissioner Rome opined that the circumstances of the transaction at issue met the definition of an investment contract because, among other things, the documents that the Commissioner had reviewed indicated that D.B. was relying primarily on the managerial efforts of others.&lt;/span&gt; &lt;span data-paragraph-id="9611" data-sentence-id="10692" class="ldml-sentence"&gt;Accordingly, Commissioner Rome opined that the investment contract at issue was a security.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="10783" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="10783" data-sentence-id="10783" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10783"&gt;&lt;span class="ldml-cite"&gt;¶16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; At the conclusion of the evidence, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; told the jury, among other things, that &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s instructions provided the rules of law that the jury was to apply to reach its verdicts.&lt;/span&gt; &lt;span data-paragraph-id="10783" data-sentence-id="10979" class="ldml-sentence"&gt;In addition, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; instructed the jury on the definitions of a security, an investment contract, and materiality.&lt;/span&gt; &lt;span data-paragraph-id="10783" data-sentence-id="11097" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; also told the jury that &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; it could believe all of the testimony of a witness, part of it, or none of it and &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; it was not bound by the testimony of expert witnesses but rather was to weigh such testimony as that of any other witness and could determine the weight to be given that testimony.&lt;/span&gt; &lt;span data-paragraph-id="10783" data-sentence-id="11402" class="ldml-sentence"&gt;And &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; instructed the jury on the crime of theft pursuant to the &lt;span class="ldml-entity"&gt;2012&lt;/span&gt; version of the theft &lt;span class="ldml-entity"&gt;statute&lt;/span&gt;, which classified theft of $1,000 or more but less than $20,000 as a class 4 felony.&lt;/span&gt; &lt;span data-paragraph-id="10783" data-sentence-id="11593" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11402"&gt;&lt;span class="ldml-cite"&gt;§ 18-4-401&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2012&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="11625" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="11625" data-sentence-id="11625" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11625"&gt;&lt;span class="ldml-cite"&gt;¶17&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; The jury ultimately convicted Lawrence as charged, and Lawrence appealed.&lt;/span&gt; &lt;span data-paragraph-id="11625" data-sentence-id="11703" class="ldml-sentence"&gt;In his appeal, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; contended, among other things, that &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; the evidence did not establish that the transaction at issue involved a security &lt;span class="ldml-parenthetical"&gt;(namely, an investment contract)&lt;/span&gt;; &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; Commissioner Rome's expert testimony usurped the jury's role as factfinder because the Commissioner was improperly permitted to opine on the ultimate factual issues in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;; and &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; Lawrence was entitled to the ameliorative benefit of &lt;span class="ldml-entity"&gt;the amendments&lt;/span&gt; to the theft &lt;span class="ldml-entity"&gt;statute&lt;/span&gt; and, as a result, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; could only stand convicted of a class 1 misdemeanor because that was the lowest degree of theft that the jury's verdict supported.&lt;/span&gt; &lt;span data-paragraph-id="11625" data-sentence-id="12308" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12308" data-refglobal="case:peoplevlawrence,2019coa84"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;People v. Lawrence&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;2019 COA 84&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12308"&gt;&lt;span class="ldml-cite"&gt;¶¶ 12&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, 30, 57, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12308" data-refglobal="case:–––p3d––––"&gt;&lt;span class="ldml-cite"&gt;––– P.3d ––––&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="12371" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="12371" data-sentence-id="12371" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12371"&gt;&lt;span class="ldml-cite"&gt;¶18&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; In a unanimous, published opinion, a division of &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; affirmed in part and reversed in part.&lt;/span&gt; &lt;span data-paragraph-id="12371" data-sentence-id="12484" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12484"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; at &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12484"&gt;&lt;span class="ldml-cite"&gt;¶¶ 1-3&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, 63.&lt;/span&gt; &lt;span data-paragraph-id="12371" data-sentence-id="12503" class="ldml-sentence"&gt;As pertinent here, the division first concluded that the evidence was sufficient to establish that the transaction at issue involved an investment contract and thus a security.&lt;/span&gt; &lt;span data-paragraph-id="12371" data-sentence-id="12680" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12503"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;at ¶¶ 13-19&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="12371" data-sentence-id="12697" class="ldml-sentence"&gt;The division further concluded that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; did not abuse its discretion in admitting Commissioner Rome's challenged testimony because &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; had properly instructed the jurors on the definition of a security; &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; had also properly instructed the jury that the instructions provided the law that the jurors were to apply and that the jurors did not have to accept any of an expert's testimony; &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; &lt;span class="ldml-entity"&gt;a trial court&lt;/span&gt; does not abuse its discretion by allowing an expert to provide general testimony as to what facts might be deemed material; and &lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt; Commissioner Rome had not usurped the jury's role because defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; had thoroughly explored on cross-examination the definition of a security and the concept of materiality and the Commissioner had not opined on whether Lawrence committed any of the crimes charged.&lt;/span&gt; &lt;span data-paragraph-id="12371" data-sentence-id="13550" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12697"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;at ¶¶ 30-35&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="13566" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="13566" data-sentence-id="13566" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13566"&gt;&lt;span class="ldml-cite"&gt;¶19&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Finally, the division noted that &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; agreed that Lawrence's conviction for a class 4 felony could not stand because in &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887091528" data-vids="887091528" class="ldml-reference" data-prop-ids="sentence_13566"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;People v. Stellabotte&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;2018 CO 66&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13566"&gt;&lt;span class="ldml-cite"&gt;¶ 3&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887091528" data-vids="887091528" class="ldml-reference" data-prop-ids="sentence_13566"&gt;&lt;span class="ldml-cite"&gt;421 P.3d 174, 175&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; concluded that ameliorative, amendatory &lt;span class="ldml-entity"&gt;legislation&lt;/span&gt; applies retroactively to non-final convictions unless &lt;span class="ldml-entity"&gt;the amendment&lt;/span&gt; provides that it applies prospectively only.&lt;/span&gt; &lt;span data-paragraph-id="13566" data-sentence-id="13933" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13566"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Lawrence&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;¶ 54&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="13566" data-sentence-id="13949" class="ldml-sentence"&gt;The question thus became the appropriate remedy, and the division ultimately concluded that when a jury instruction misstates the elements necessary to convict &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; of a crime but accurately states the elements of a lesser crime, &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; may elect to retry &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; for the greater crime or agree to &lt;span class="ldml-pagenumber" data-vol="486" data-rep="P.3d" data-id="pagenumber_14269" data-page_type="bracketed_cite" data-val="275"&gt;&lt;/span&gt; the entry of a conviction to the lesser crime.&lt;/span&gt; &lt;span data-paragraph-id="13566" data-sentence-id="14317" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13949"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;at ¶¶ 57-61&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="13566" data-sentence-id="14334" class="ldml-sentence"&gt;The division thus remanded &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; with instructions that &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; be permitted to make that choice.&lt;/span&gt; &lt;span data-paragraph-id="13566" data-sentence-id="14443" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14334"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;at ¶ 62&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="14455" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="14455" data-sentence-id="14455" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14455"&gt;&lt;span class="ldml-cite"&gt;¶20&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Lawrence then petitioned for a writ of certiorari, and &lt;span class="ldml-entity"&gt;we&lt;/span&gt; granted his petition.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-specifier="II" data-id="heading_14538" data-types="analysis" data-confidences="very_high" data-ordinal_start="2" data-parsed="true" data-format="upper_case_roman_numeral" data-value="II. Analysis" data-ordinal_end="2" id="heading_14538" data-content-heading-label="II. Analysis"&gt;&lt;span data-paragraph-id="14538" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="14538" data-sentence-id="14538" class="ldml-sentence"&gt;II.&lt;/span&gt; &lt;span data-paragraph-id="14538" data-sentence-id="14542" class="ldml-sentence"&gt;Analysis&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="14550" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="14550" data-sentence-id="14550" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14550"&gt;&lt;span class="ldml-cite"&gt;¶21&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; begin our analysis by addressing whether the agreement at issue was an investment contract and thus a security for purposes of &lt;span class="ldml-entity"&gt;the Act&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="14550" data-sentence-id="14693" class="ldml-sentence"&gt;After concluding that it was, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; proceed to consider the proper scope of expert testimony from the Colorado Securities Commissioner in securities fraud &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; like this one.&lt;/span&gt; &lt;span data-paragraph-id="14550" data-sentence-id="14866" class="ldml-sentence"&gt;Guided by the factors set forth in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894785282" data-vids="894785282" class="ldml-reference" data-prop-ids="sentence_14866"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Rector&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;248 P.3d at 1203&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that the admission of the expert testimony here was not reversible error.&lt;/span&gt; &lt;span data-paragraph-id="14550" data-sentence-id="15013" class="ldml-sentence"&gt;Finally, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; address the appropriate remedy for the erroneous instruction regarding the value of the property taken for purposes of the theft charge in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-format="upper_case_letters" data-id="heading_15174" data-ordinal_start="1" data-specifier="A" data-parsed="true" data-value="A. Investment Contract" data-ordinal_end="1" id="heading_15174" data-content-heading-label="A. Investment Contract"&gt;&lt;span data-paragraph-id="15174" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="15174" data-sentence-id="15174" class="ldml-sentence"&gt;A.&lt;/span&gt; &lt;span data-paragraph-id="15174" data-sentence-id="15177" class="ldml-sentence"&gt;Investment Contract&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="15196" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="15196" data-sentence-id="15196" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15196"&gt;&lt;span class="ldml-cite"&gt;¶22&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Lawrence first contends that his agreement with D.B. did not constitute an investment contract because D.B. actively participated in Advert's business and could control her investment.&lt;/span&gt; &lt;span data-paragraph-id="15196" data-sentence-id="15385" class="ldml-sentence"&gt;Lawrence thus asserts that D.B.'s investment was not a security and therefore his securities fraud convictions were not supported by sufficient evidence.&lt;/span&gt; &lt;span data-paragraph-id="15196" data-sentence-id="15539" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; disagree.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="15551" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="15551" data-sentence-id="15552" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15552"&gt;&lt;span class="ldml-cite"&gt;¶23&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; review the record de novo to determine whether the evidence presented at trial was sufficient in both quantity and quality to sustain &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt;'s conviction.&lt;/span&gt; &lt;span data-paragraph-id="15551" data-sentence-id="15719" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888227812" data-vids="888227812" class="ldml-reference" data-prop-ids="sentence_15552"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Clark v. People&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;232 P.3d 1287, 1291&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2010&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="15551" data-sentence-id="15770" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; consider &lt;span class="ldml-quotation quote"&gt;"whether the relevant evidence, both direct and circumstantial, when viewed as a whole and in the light most favorable to &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;, is substantial and sufficient to support a conclusion by a reasonable mind that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; is guilty of the charge beyond a reasonable doubt."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="15551" data-sentence-id="16067" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888227812" data-vids="888227812" class="ldml-reference" data-prop-ids="sentence_15770"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889395469" data-vids="889395469" class="ldml-reference" data-prop-ids="sentence_15770"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Bennett&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;183 Colo. 125&lt;/span&gt;, &lt;span class="ldml-cite"&gt;515 P.2d 466, 469&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1973&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; )&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="16141" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="16141" data-sentence-id="16141" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_16141"&gt;&lt;span class="ldml-cite"&gt;¶24&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_16141"&gt;&lt;span class="ldml-cite"&gt;Section 11-51-501&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; of &lt;span class="ldml-entity"&gt;the Act&lt;/span&gt; provides, in pertinent part:&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;blockquote data-paragraph-id="b_16205" class="ldml-blockquote"&gt;&lt;span data-sentence-id="16205" class="ldml-sentence"&gt;It is unlawful for any person, in connection with the offer, sale, or purchase of any security, directly or indirectly:&lt;/span&gt;&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_16324" class="ldml-blockquote"&gt;&lt;span data-sentence-id="16324" class="ldml-sentence"&gt;....&lt;/span&gt;&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_16328" class="ldml-blockquote"&gt;&lt;span data-sentence-id="16328" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt; To make any untrue statement of a material fact or to omit to state a material fact necessary in order to make the statements made, in light of the circumstances under which &lt;span class="ldml-entity"&gt;they&lt;/span&gt; are made, not misleading.&lt;/span&gt;&lt;/blockquote&gt;&lt;/div&gt;&lt;p data-paragraph-id="16536" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="16536" data-sentence-id="16536" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;¶25 Section 11-51-201&lt;span class="ldml-parenthetical"&gt;(17)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2020&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, in turn, defines &lt;span class="ldml-quotation quote"&gt;"security"&lt;/span&gt; to mean:&lt;/span&gt;&lt;/p&gt;&lt;blockquote data-paragraph-id="b_16614" class="ldml-blockquote"&gt;&lt;span data-sentence-id="16614" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;[A]&lt;/span&gt;ny note; stock; treasury stock; bond; debenture; evidence of indebtedness; certificate of interest or participation in any profit-sharing agreement; collateral-trust certificate; preorganization certificate of subscription; transferable share; investment contract; viatical settlement investment; voting-trust certificate; certificate of deposit for a security; certificate of interest or participation in an oil, gas, or mining title or lease or in payments out of production under such a title or lease; or, in general, any interest or instrument commonly known as a &lt;span class="ldml-quotation quote"&gt;"security"&lt;/span&gt; or any certificate of interest or participation in, temporary or interim certificate for, guarantee of, or warrant or right to subscribe to or purchase any of the foregoing.&lt;/span&gt;&lt;/blockquote&gt;&lt;p data-paragraph-id="17370" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="17370" data-sentence-id="17371" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_17371"&gt;&lt;span class="ldml-cite"&gt;¶26&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;The Act&lt;/span&gt; does not define &lt;span class="ldml-quotation quote"&gt;"investment contract,"&lt;/span&gt; but &lt;span class="ldml-entity"&gt;we&lt;/span&gt; have long made clear that, insofar as &lt;span class="ldml-entity"&gt;the Act&lt;/span&gt;'s provisions and purposes parallel those of the federal securities laws, federal authorities construing those federal laws are &lt;span class="ldml-quotation quote"&gt;"highly persuasive."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="17370" data-sentence-id="17623" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889084303" data-vids="889084303" class="ldml-reference" data-prop-ids="sentence_17371"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Lowery v. Ford Hill Inv. Co.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;192 Colo. 125&lt;/span&gt;, &lt;span class="ldml-cite"&gt;556 P.2d 1201, 1204&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1976&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="17695" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="17695" data-sentence-id="17695" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_17695"&gt;&lt;span class="ldml-cite"&gt;¶27&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; As pertinent here, &lt;span class="ldml-entity"&gt;the Act&lt;/span&gt; and the &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_17695"&gt;&lt;span class="ldml-cite"&gt;federal Securities Act of 1933&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;,&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/943568494" data-vids="943568494" class="ldml-reference" data-prop-ids="sentence_17695"&gt;&lt;span class="ldml-cite"&gt;15 U.S.C. § 77b&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2018&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, define &lt;span class="ldml-quotation quote"&gt;"security"&lt;/span&gt; virtually identically.&lt;/span&gt; &lt;span data-paragraph-id="17695" data-sentence-id="17837" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889084303" data-vids="889084303" class="ldml-reference" data-prop-ids="sentence_17695"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Lowery&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;556 P.2d at 1204-05&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="17695" data-sentence-id="17866" class="ldml-sentence"&gt;Thus, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; may look to federal authority for guidance.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="17918" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="17918" data-sentence-id="17918" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_17918"&gt;&lt;span class="ldml-cite"&gt;¶28&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; In &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888053901" data-vids="888053901" class="ldml-reference" data-prop-ids="sentence_17918"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;S.E.C. v. W.J. Howey Co.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;328 U.S. 293, 298-99&lt;/span&gt;, &lt;span class="ldml-cite"&gt;66 S.Ct. 1100&lt;/span&gt;, &lt;span class="ldml-cite"&gt;90 L.Ed. 1244&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1946&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the Supreme Court&lt;/span&gt; adopted a three-part test to determine whether a contract is an investment contract.&lt;/span&gt; &lt;span data-paragraph-id="17918" data-sentence-id="18113" class="ldml-sentence"&gt;Under that test, an investment contract is defined as &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[1]&lt;/span&gt; a contract, transaction or scheme whereby a person &lt;span class="ldml-pagenumber" data-vol="486" data-rep="P.3d" data-id="pagenumber_18223" data-page_type="bracketed_cite" data-val="276"&gt;&lt;/span&gt; invests his money &lt;span class="ldml-parenthetical"&gt;[2]&lt;/span&gt; in a common enterprise and &lt;span class="ldml-parenthetical"&gt;[3]&lt;/span&gt; is led to expect profits solely from the efforts of the promoter or a third &lt;span class="ldml-entity"&gt;party&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="17918" data-sentence-id="18361" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888053901" data-vids="888053901" class="ldml-reference" data-prop-ids="sentence_18113"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="17918" data-sentence-id="18365" class="ldml-sentence"&gt;This test was intended to embody &lt;span class="ldml-quotation quote"&gt;"a flexible rather than a static principle, one that is capable of adaptation to meet the countless and variable schemes devised by those who seek the use of the money of others on the promise of profits."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="17918" data-sentence-id="18604" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888053901" data-vids="888053901" class="ldml-reference" data-prop-ids="sentence_18365"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt; at 299&lt;/span&gt;, &lt;span class="ldml-cite"&gt;66 S.Ct. 1100&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="18630" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="18630" data-sentence-id="18630" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18630"&gt;&lt;span class="ldml-cite"&gt;¶29&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Notably, &lt;span class="ldml-entity"&gt;case law&lt;/span&gt; from both federal and Colorado &lt;span class="ldml-entity"&gt;state courts&lt;/span&gt; have not construed the word &lt;span class="ldml-quotation quote"&gt;"solely"&lt;/span&gt; in the third prong of &lt;span class="ldml-entity"&gt;the &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888053901" data-vids="888053901" class="ldml-reference" data-prop-ids="sentence_18630"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Howey&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; test&lt;/span&gt; literally.&lt;/span&gt; &lt;span data-paragraph-id="18630" data-sentence-id="18781" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888325377" data-vids="888325377" class="ldml-reference" data-prop-ids="sentence_18630"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Rome v. HEI Res., Inc.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;2014 COA 160&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18630"&gt;&lt;span class="ldml-cite"&gt;¶ 21&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888325377" data-vids="888325377" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;411 P.3d 851, 856-57&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-opinionnote"&gt;collecting &lt;span class="ldml-entity"&gt;cases&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="18630" data-sentence-id="18871" class="ldml-sentence"&gt;Thus, in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888246254" data-vids="888246254" class="ldml-reference" data-prop-ids="sentence_18871"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Blair&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;195 Colo. 462&lt;/span&gt;, &lt;span class="ldml-cite"&gt;579 P.2d 1133, 1141-42&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1978&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; agreed:&lt;/span&gt;&lt;/p&gt;&lt;blockquote data-paragraph-id="b_18953" class="ldml-blockquote"&gt;&lt;span data-sentence-id="18953" class="ldml-sentence"&gt;The most essential consistency in &lt;span class="ldml-entity"&gt;the cases&lt;/span&gt; which have considered the meaning of the term &lt;span class="ldml-quotation quote"&gt;"investment contract"&lt;/span&gt; is their emphasis on whether or not the investor has substantial power to affect the success of the enterprise.&lt;/span&gt; &lt;span data-sentence-id="19177" class="ldml-sentence"&gt;When the investor is relatively uninformed and then turns over his money to others, essentially depending upon their representations and their honesty and skill in managing it, the transaction is generally considered to be an investment contract.&lt;/span&gt;&lt;/blockquote&gt;&lt;p data-paragraph-id="19423" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="19423" data-sentence-id="19423" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-cert"&gt;Quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893408807" data-vids="893408807" class="ldml-reference"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;S.E.C. v. Heritage Tr. Co.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;402 F. Supp. 744, 749&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;D. Ariz.&lt;/span&gt; &lt;span class="ldml-date"&gt;1975&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.)&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="19499" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="19499" data-sentence-id="19499" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19499"&gt;&lt;span class="ldml-cite"&gt;¶30&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Similarly, in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888325377" data-vids="888325377" class="ldml-reference" data-prop-ids="sentence_19499"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Rome&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;i class="ldml-italics"&gt;,&lt;/i&gt; a division of our &lt;span class="ldml-entity"&gt;court of appeals&lt;/span&gt; observed, &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[T]&lt;/span&gt;he &lt;span class="ldml-quotation quote"&gt;‘critical inquiry is ... whether the efforts made by those other than the investor are the undeniably significant ones, those essential managerial efforts which affect the failure or success of the enterprise.’&lt;/span&gt; "&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="19499" data-sentence-id="19789" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888325377" data-vids="888325377" class="ldml-reference" data-prop-ids="sentence_19499"&gt;&lt;span class="ldml-refname"&gt;Rome&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19499"&gt;&lt;span class="ldml-cite"&gt;¶ 21&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888325377" data-vids="888325377" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;411 P.3d at 856&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/892552367" data-vids="892552367" class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Long v.&lt;/i&gt; &lt;i class="ldml-italics"&gt;Schultz Cattle Co.&lt;/i&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;881 F.2d 129, 133&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;5th Cir.&lt;/span&gt; &lt;span class="ldml-date"&gt;1989&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;internal quotations omitted&lt;/span&gt;)&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="19499" data-sentence-id="19920" class="ldml-sentence"&gt;The division continued, &lt;span class="ldml-quotation quote"&gt;"The dispositive inquiry is thus whether the investor was &lt;span class="ldml-quotation quote"&gt;‘led to expect profits derived from the entrepreneurial or managerial efforts of others.’&lt;/span&gt; "&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="19499" data-sentence-id="20094" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888325377" data-vids="888325377" class="ldml-reference" data-prop-ids="sentence_19920"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-cite"&gt;Id.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;411 P.3d at 857&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888886112" data-vids="888886112" class="ldml-reference" data-prop-ids="sentence_19920"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Toothman v. Freeborn &amp; Peters&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;80 P.3d 804, 811&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo. App.&lt;/span&gt; &lt;span class="ldml-date"&gt;2002&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; )&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="20192" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="20192" data-sentence-id="20193" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20193"&gt;&lt;span class="ldml-cite"&gt;¶31&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; In light of the foregoing, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; now clarify that an investment contract is a contract, transaction, or scheme whereby &lt;span class="ldml-entity"&gt;people&lt;/span&gt; invest their money in a common enterprise and are led to expect profits derived substantially from the entrepreneurial or managerial efforts of others, on whose honesty and skill the investors have relied to manage their money.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="20547" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="20547" data-sentence-id="20548" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20548"&gt;&lt;span class="ldml-cite"&gt;¶32&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Turning then to &lt;span class="ldml-entity"&gt;the facts before &lt;span class="ldml-entity"&gt;us&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; have little difficulty concluding that Lawrence's agreement with D.B. was an investment contract.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="20689" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="20689" data-sentence-id="20689" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20689"&gt;&lt;span class="ldml-cite"&gt;¶33&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;The parties&lt;/span&gt; do not dispute that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; entered into an agreement whereby D.B. invested money in a common enterprise with Lawrence.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="20821" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="20821" data-sentence-id="20821" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20821"&gt;&lt;span class="ldml-cite"&gt;¶34&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; In addition, the record shows that D.B. was led to expect profits derived substantially from the entrepreneurial or managerial efforts of Lawrence and that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; had relied on his honesty and skill to manage her money.&lt;/span&gt; &lt;span data-paragraph-id="20821" data-sentence-id="21042" class="ldml-sentence"&gt;Specifically, the record demonstrates that D.B. was looking to and relying almost completely on Lawrence to develop Advert and to make it a profitable business.&lt;/span&gt; &lt;span data-paragraph-id="20821" data-sentence-id="21203" class="ldml-sentence"&gt;Notwithstanding Lawrence's assertions to the contrary, D.B. had little to no expertise in a security business like the one Lawrence was promoting.&lt;/span&gt; &lt;span data-paragraph-id="20821" data-sentence-id="21350" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;She&lt;/span&gt; performed essentially no work for Advert.&lt;/span&gt; &lt;span data-paragraph-id="20821" data-sentence-id="21396" class="ldml-sentence"&gt;Lawrence spent D.B.'s investment money without consulting her.&lt;/span&gt; &lt;span data-paragraph-id="20821" data-sentence-id="21459" class="ldml-sentence"&gt;And the record does not support a contention that D.B. had any actual ability to affect the success of the enterprise.&lt;/span&gt; &lt;span data-paragraph-id="20821" data-sentence-id="21578" class="ldml-sentence"&gt;At best, &lt;span class="ldml-entity"&gt;she&lt;/span&gt; was a trainee who gave Lawrence $9,000 of her money and looked to him to use it to build the business that Lawrence had promoted to her.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="21727" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="21727" data-sentence-id="21727" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21727"&gt;&lt;span class="ldml-cite"&gt;¶35&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; In so concluding, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; are not persuaded by Lawrence's suggestions that &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; in deciding whether &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; entered into an investment contract, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; must look to the investor's intent and &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; here, because &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt;' agreement gave D.B. the right to view business records and promised more involvement in the future, the agreement was not an investment contract.&lt;/span&gt; &lt;span data-paragraph-id="21727" data-sentence-id="22093" class="ldml-sentence"&gt;Were these factors dispositive, promoters of a venture could essentially always avoid the applicable securities laws by simply including in their contracts provisions that give investors minimal opportunities to view business records and promise future involvement in the management of the proposed business opportunity.&lt;/span&gt; &lt;span data-paragraph-id="21727" data-sentence-id="22414" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; decline to &lt;span class="ldml-pagenumber" data-vol="486" data-rep="P.3d" data-id="pagenumber_22428" data-page_type="bracketed_cite" data-val="277"&gt;&lt;/span&gt; adopt such a view, which &lt;span class="ldml-entity"&gt;we&lt;/span&gt; believe would produce absurd results.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="22494" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="22494" data-sentence-id="22494" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_22494"&gt;&lt;span class="ldml-cite"&gt;¶36&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; For these reasons, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that Lawrence's agreement with D.B. constituted an investment contract and was therefore a security for purposes of &lt;span class="ldml-entity"&gt;the Act&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="22494" data-sentence-id="22654" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; agree with the division below that sufficient evidence supported Lawrence's securities fraud convictions.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-format="upper_case_letters" data-id="heading_22775" data-ordinal_start="2" data-specifier="B" data-parsed="true" data-value="B. Expert Testimony" data-ordinal_end="2" id="heading_22775" data-content-heading-label="B. Expert Testimony"&gt;&lt;span data-paragraph-id="22775" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="22775" data-sentence-id="22775" class="ldml-sentence"&gt;B.&lt;/span&gt; &lt;span data-paragraph-id="22775" data-sentence-id="22778" class="ldml-sentence"&gt;Expert Testimony&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="22794" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="22794" data-sentence-id="22795" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_22795"&gt;&lt;span class="ldml-cite"&gt;¶37&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Lawrence next contends that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; erred in allowing Commissioner Rome to testify to the ultimate issues of whether D.B.'s investment was a security and whether the facts that Lawrence failed to disclose to her were material.&lt;/span&gt; &lt;span data-paragraph-id="22794" data-sentence-id="23034" class="ldml-sentence"&gt;In Lawrence's view, the Commissioner's testimony usurped the functions of &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; and the jury.&lt;/span&gt; &lt;span data-paragraph-id="22794" data-sentence-id="23132" class="ldml-sentence"&gt;Again, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; are unpersuaded.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="23158" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="23158" data-sentence-id="23159" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23159"&gt;&lt;span class="ldml-cite"&gt;¶38&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; CRE 702 provides, &lt;span class="ldml-quotation quote"&gt;"If scientific, technical, or other specialized knowledge will assist the trier of fact to understand the evidence or to determine a fact in issue, a witness qualified as an expert by knowledge, skill, experience, training, or education, may testify thereto in the form of an opinion or otherwise."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="23158" data-sentence-id="23480" class="ldml-sentence"&gt;The focus of a &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; inquiry is on whether the proffered evidence is both reliable and relevant.&lt;/span&gt; &lt;span data-paragraph-id="23158" data-sentence-id="23579" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23480" data-refglobal="case:inrethepeopleofthestateofcoloradovshreckno00sa10522p3d68april23,2001"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Shreck&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;22 P.3d 68, 77&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2001&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="23158" data-sentence-id="23626" class="ldml-sentence"&gt;In determining whether the expert testimony at issue is reliable, &lt;span class="ldml-quotation quote"&gt;"a &lt;span class="ldml-entity"&gt;trial court&lt;/span&gt; should consider &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; whether the ... principles as to which the witness is testifying are reasonably reliable, and &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; whether the witness is qualified to opine on such matters."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="23158" data-sentence-id="23885" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23626" data-refglobal="case:inrethepeopleofthestateofcoloradovshreckno00sa10522p3d68april23,2001"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="23158" data-sentence-id="23889" class="ldml-sentence"&gt;In deciding whether the evidence is relevant, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; should consider whether the testimony would be useful to the jury.&lt;/span&gt; &lt;span data-paragraph-id="23158" data-sentence-id="24012" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23889" data-refglobal="case:inrethepeopleofthestateofcoloradovshreckno00sa10522p3d68april23,2001"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="23158" data-sentence-id="24016" class="ldml-sentence"&gt;Expert testimony is useful if it &lt;span class="ldml-quotation quote"&gt;"will assist the fact finder to either understand other evidence or to determine a fact in issue."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="23158" data-sentence-id="24148" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24016" data-refglobal="case:peopleofthestateofcoloradovramirezno06sc71155p3d371march26,2007"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Ramirez&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;155 P.3d 371, 379&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2007&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="24198" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="24198" data-sentence-id="24198" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24198"&gt;&lt;span class="ldml-cite"&gt;¶39&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; CRE 704, in turn, provides, &lt;span class="ldml-quotation quote"&gt;"Testimony in the form of an opinion or inference otherwise admissible is not objectionable because it embraces an ultimate issue to be decided by the trier of fact."&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="24396" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="24396" data-sentence-id="24397" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24397"&gt;&lt;span class="ldml-cite"&gt;¶40&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; In &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894785282" data-vids="894785282" class="ldml-reference" data-prop-ids="sentence_24397"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Rector&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;248 P.3d at 1203&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; set forth a number of factors that &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; should consider in determining whether opinion testimony is admissible under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 704&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="24396" data-sentence-id="24561" class="ldml-sentence"&gt;These factors include, but are not limited to, whether &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; the testimony was clarified on cross-examination; &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; the expert's testimony expressed an opinion of the applicable law or legal standards and thereby usurped the function of &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;; &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; the jury was properly instructed on the law and that it could accept or reject the expert's opinion; and &lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt; the expert opined that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; had committed the crime or that there was a particular likelihood that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; did so.&lt;/span&gt; &lt;span data-paragraph-id="24396" data-sentence-id="25049" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24561"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="25052" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="25052" data-sentence-id="25052" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25052"&gt;&lt;span class="ldml-cite"&gt;¶41&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Applying these principles, many divisions of our &lt;span class="ldml-entity"&gt;court of appeals&lt;/span&gt; have upheld the admission of expert testimony like that at issue here, including expert testimony from the current or former Colorado Securities Commissioner or Deputy Commissioner embracing ultimate questions of whether the transaction at issue involved a security or whether any misrepresentations or omissions were material.&lt;/span&gt; &lt;span data-paragraph-id="25052" data-sentence-id="25450" class="ldml-sentence"&gt;The sole qualifications set forth in &lt;span class="ldml-entity"&gt;those cases&lt;/span&gt; were that the ultimate questions be submitted to the jury and that the jury be instructed that it was to follow the law as instructed by &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; and that it could reject the expert's testimony in whole or in part.&lt;/span&gt; &lt;span data-paragraph-id="25052" data-sentence-id="25715" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See, e.g.&lt;/span&gt;, &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886837679" data-vids="886837679" class="ldml-reference" data-prop-ids="embeddedsentence_25784,sentence_25450"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Destro&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;215 P.3d 1147, 1152&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo. App.&lt;/span&gt; &lt;span class="ldml-date"&gt;2008&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;concluding that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; did not err in allowing a former securities commissioner to offer expert testimony on whether a particular investment program constituted an investment contract because the jury retained the authority to determine the facts from the evidence and to accept or reject the expert's opinion, and because the expert offered no opinion regarding &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s guilt&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_26233,sentence_25450" data-refglobal="case:peopleofthestateofcoloradovpahlno01ca2020169p3d169august24,2006"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Pahl&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;169 P.3d 169, 182&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo. App.&lt;/span&gt; &lt;span class="ldml-date"&gt;2006&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;upholding the admission of the former securities commissioner's expert testimony that a joint operating agreement concerning an oil drilling project was a security because the issue was submitted to the jury and the jury was properly instructed&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887357443" data-vids="887357443" class="ldml-reference" data-prop-ids="embeddedsentence_26542,sentence_25450"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Prendergast&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;87 P.3d 175, 181-83&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo. App.&lt;/span&gt; &lt;span class="ldml-date"&gt;2003&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;affirming the admission of the deputy security commissioner's expert testimony providing a brief overview of securities law and explaining the principles of full and fair &lt;span class="ldml-pagenumber" data-vol="486" data-rep="P.3d" data-id="pagenumber_26713" data-page_type="bracketed_cite" data-val="278"&gt;&lt;/span&gt; disclosure and materiality because the testimony was substantively correct, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; properly instructed the jury, and the witness's special knowledge assisted the jury&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895069710" data-vids="895069710" class="ldml-reference" data-prop-ids="embeddedsentence_26951,sentence_25450"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Rivera&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;56 P.3d 1155, 1163-64&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo. App.&lt;/span&gt; &lt;span class="ldml-date"&gt;2002&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;concluding that the securities commissioner's expert testimony regarding whether a limited partnership agreement constituted a security and whether certain information was material did not usurp the jury's factfinding function and was properly admitted because the testimony assisted the jury in understanding the evidence and the jury retained the authority to determine the facts from the evidence and to accept or reject the expert's opinions&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="27398" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="27398" data-sentence-id="27398" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_27398"&gt;&lt;span class="ldml-cite"&gt;¶42&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; In &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;, and in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891140238" data-vids="891140238" class="ldml-reference" data-prop-ids="sentence_27398"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Baker&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;2021 CO 29&lt;/span&gt;, &lt;span class="ldml-cite"&gt;485 P.3d 1100&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, which &lt;span class="ldml-entity"&gt;we&lt;/span&gt; also decide today, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; are asked to explore the limits of such testimony.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="27548" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="27548" data-sentence-id="27549" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_27549"&gt;&lt;span class="ldml-cite"&gt;¶43&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; As a preliminary matter, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; reaffirm the long-settled principle that &lt;span class="ldml-entity"&gt;trial courts&lt;/span&gt; have an obligation to serve as gatekeepers regarding the propriety of expert testimony.&lt;/span&gt; &lt;span data-paragraph-id="27548" data-sentence-id="27723" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_27549" data-refglobal="case:trujillovvailclinic,inc,2020coa126"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Trujillo v. Vail Clinic, Inc.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;2020 COA 126&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_27549"&gt;&lt;span class="ldml-cite"&gt;¶ 13&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891934597" data-vids="891934597" class="ldml-reference" data-prop-ids="embeddedsentence_27793"&gt;&lt;span class="ldml-cite"&gt;480 P.3d 721, 724&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;noting&lt;/span&gt; &lt;span class="ldml-entity"&gt;trial courts&lt;/span&gt;' role as gatekeepers regarding the admissibility of expert testimony&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893270481" data-vids="893270481" class="ldml-reference"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Murray v. Just in Case Bus. Lighthouse, LLC&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;2016 CO 47M&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;¶ 40&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_27977" data-refglobal="case:374p3d443,455"&gt;&lt;span class="ldml-cite"&gt;374 P.3d 443, 455&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-entity"&gt;Trial court&lt;/span&gt; judges act as gatekeepers to ensure the reliability of evidence ...."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="27548" data-sentence-id="28062" class="ldml-sentence"&gt;Thus, as noted above, our &lt;span class="ldml-entity"&gt;trial courts&lt;/span&gt; must ensure that expert testimony presented to the jury is both reliable and relevant.&lt;/span&gt; &lt;span data-paragraph-id="27548" data-sentence-id="28188" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_28062" data-refglobal="case:inrethepeopleofthestateofcoloradovshreckno00sa10522p3d68april23,2001"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Shreck&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;22 P.3d at 77&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="28211" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="28211" data-sentence-id="28211" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_28211"&gt;&lt;span class="ldml-cite"&gt;¶44&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; In &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; like this one, it seems that many prosecutors have reflexively designated a current or former securities commissioner &lt;span class="ldml-parenthetical"&gt;(or a current or former deputy securities commissioner)&lt;/span&gt; as an expert and have elicited testimony as to, among other things, whether the transaction at issue involved a security and whether any misrepresentations or omissions were material.&lt;/span&gt; &lt;span data-paragraph-id="28211" data-sentence-id="28582" class="ldml-sentence"&gt;These prosecutors have done so notwithstanding admonitions from divisions of &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; that such testimony could &lt;span class="ldml-quotation quote"&gt;"cross the line from acceptable opinion to unacceptable interference with &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s or jury's role,"&lt;/span&gt; thereby putting convictions in jeopardy of reversal.&lt;/span&gt; &lt;span data-paragraph-id="28211" data-sentence-id="28862" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_28582" data-refglobal="case:peopleofthestateofcoloradovpahlno01ca2020169p3d169august24,2006"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Pahl&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;169 P.3d at 182&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887357443" data-vids="887357443" class="ldml-reference" data-prop-ids="embeddedsentence_28925,sentence_28582"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Prendergast&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;87 P.3d at 182&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;noting&lt;/span&gt; that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;here can be a fine line between impermissible expert testimony about legal issues and permissible expert testimony about a standard of care or an expert's conclusion based upon mixed questions of facts and law"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="29153" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="29153" data-sentence-id="29153" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_29153"&gt;&lt;span class="ldml-cite"&gt;¶45&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; To be sure, in some &lt;span class="ldml-entity"&gt;cases&lt;/span&gt;, such testimony may well be reliable and relevant, as, for example, when the matter at issue is particularly complex or a jury is asked to decide whether a novel form of transaction involves a security.&lt;/span&gt; &lt;span data-paragraph-id="29153" data-sentence-id="29386" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See, e.g.&lt;/span&gt;, &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895322631" data-vids="895322631" class="ldml-reference" data-prop-ids="embeddedsentence_29458,sentence_29153"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;United States v. Offill&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;666 F.3d 168, 175&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;4th Cir.&lt;/span&gt; &lt;span class="ldml-date"&gt;2011&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;concluding that &lt;span class="ldml-quotation quote"&gt;"the specialized nature of the legal regimes involved in &lt;span class="ldml-parenthetical"&gt;[&lt;span class="ldml-entity"&gt;the case&lt;/span&gt; at issue]&lt;/span&gt; and the complex concepts involving securities registration, registration exemptions, and specific regulatory practices make it a typical case for allowing expert testimony that arguably states a legal conclusion in order to assist the jury"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_29898,sentence_29153" data-refglobal="case:secvusenvtl,inc,no94civ6608,2002wl31323832,at2,2002usdistlexis19701,at7sdnyoct16,2002leisure,j"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;S.E.C. v. U.S. Env't, Inc.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;No. 94Civ.6608&lt;span class="ldml-parenthetical"&gt;(PKL)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(AJP)&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2002 WL 31323832, at *2&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;S.D.N.Y.&lt;/span&gt; &lt;span class="ldml-date"&gt;Oct. 16, 2002&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;noting&lt;/span&gt; that &lt;span class="ldml-entity"&gt;federal courts&lt;/span&gt; have admitted expert testimony under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_29153"&gt;&lt;span class="ldml-cite"&gt;Fed. R. Evid. 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; in securities &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"to assist the trier of fact in understanding trading patterns, securities industry regulations, and complicated terms and concepts inherent in the practice of the securities industry"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886837679" data-vids="886837679" class="ldml-reference" data-prop-ids="embeddedsentence_30214,sentence_29153"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Destro&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;215 P.3d at 1152&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;upholding the admission of a former securities commissioner's expert testimony as to whether an investment program in which a company was created to purchase real property and profit from the practice of &lt;span class="ldml-quotation quote"&gt;"flipping"&lt;/span&gt; that property constituted an investment contract&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="30479" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="30479" data-sentence-id="30479" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_30479"&gt;&lt;span class="ldml-cite"&gt;¶46&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; In &lt;span class="ldml-entity"&gt;other cases&lt;/span&gt;, however, expert testimony of this nature may not be necessary and may not assist the jury.&lt;/span&gt; &lt;span data-paragraph-id="30479" data-sentence-id="30590" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See, e.g.&lt;/span&gt;, &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895322631" data-vids="895322631" class="ldml-reference" data-prop-ids="embeddedsentence_30627,sentence_30479"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Offill&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;666 F.3d at 175&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;noting&lt;/span&gt; that it does not help the jury for an expert to give testimony that merely states legal standards or draws legal conclusions by applying the law at issue to &lt;span class="ldml-entity"&gt;the facts of &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_30880,sentence_30479" data-refglobal="case:unitedstatesvchapman,209fappx253,268n44thcir2006no04-5010"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;United States v. Chapman&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;209 F. App'x 253, 269&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;4th Cir.&lt;/span&gt; &lt;span class="ldml-date"&gt;2006&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;concluding that the contract at issue outlined the nature of &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s fiduciary duties and that having an expert testify as to whether &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; violated those duties &lt;span class="ldml-quotation quote"&gt;"would not be particularly helpful to the jury"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_31174,sentence_30479" data-refglobal="case:karnsvemersonelectriccono85-1576817f2d1452,55uslw2668,23fedrevidserv122may1,1987"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Karns v. Emerson Elec. Co.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;817 F.2d 1452, 1459&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;10th Cir.&lt;/span&gt; &lt;span class="ldml-date"&gt;1987&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;noting&lt;/span&gt; that the &lt;span class="ldml-pagenumber" data-vol="486" data-rep="P.3d" data-id="pagenumber_31190" data-page_type="bracketed_cite" data-val="279"&gt;&lt;/span&gt; expert testimony at issue was not helpful because it effectively did no more than tell the jury what result to reach on two of the elements of &lt;span class="ldml-entity"&gt;the plaintiff&lt;/span&gt;'s case, but nonetheless concluding that the jury was unlikely to have been confused or misled by this testimony, particularly given that &lt;span class="ldml-quotation quote"&gt;"the facts were of a sufficiently technical nature that expert testimony could be expected to assist the jury in deciding &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_30479" data-refglobal="case:harveyvthiofnmatalbuquerquecarectr,llc,no12-cv-727mca"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Harvey v. THI of N.M. at Albuquerque Care Ctr. LLC&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;No. 12-CV-727 MCA&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;/RHS, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_31742" data-refglobal="case:2014wl12796900,at5dnmmar31,2014"&gt;&lt;span class="ldml-cite"&gt;2014 WL 12796900, at *5&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;D.N.M.&lt;/span&gt; &lt;span class="ldml-date"&gt;Mar. 31, 2014&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;excluding expert testimony as to the use and purpose of confidentiality clauses in settlement agreements on the ground that such testimony was unnecessary, given that the signatories to the agreements at issue, at least two of whom were attorneys, would be able to explain the agreements' confidentiality clauses and what the signatories understood those clauses to mean&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890321363" data-vids="890321363" class="ldml-reference" data-prop-ids="embeddedsentence_32171"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Lesslie&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;939 P.2d 443, 450&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo. App.&lt;/span&gt; &lt;span class="ldml-date"&gt;1996&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;concluding that &lt;span class="ldml-quotation quote"&gt;"expert testimony was not needed simply to describe or interpret"&lt;/span&gt; certain facts, particularly when the jury heard ample testimony from numerous witnesses as to such facts&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="32359" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="32359" data-sentence-id="32359" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_32359"&gt;&lt;span class="ldml-cite"&gt;¶47&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; In such &lt;span class="ldml-entity"&gt;cases&lt;/span&gt;, expert testimony would serve no purpose other than to have an expert—and possibly one with impressive credentials—tell the jury what conclusions to reach.&lt;/span&gt; &lt;span data-paragraph-id="32359" data-sentence-id="32533" class="ldml-sentence"&gt;As the above-cited &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; make clear, however, such testimony has generally been deemed inadmissible.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="32633" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="32633" data-sentence-id="32634" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_32634"&gt;&lt;span class="ldml-cite"&gt;¶48&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; For these reasons, in future &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; like this one, and upon a proper motion calling into question the scope of a proffered expert's testimony, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; encourage trial judges to assess, on &lt;span class="ldml-entity"&gt;a case&lt;/span&gt;-by-case basis, whether such testimony would truly be helpful to the jury before allowing the jury to hear it.&lt;/span&gt; &lt;span data-paragraph-id="32633" data-sentence-id="32937" class="ldml-sentence"&gt;Moreover, &lt;span class="ldml-entity"&gt;parties&lt;/span&gt; should not assume that testimony like that at issue here will be deemed admissible based solely on conclusory assertions that securities fraud matters are complex.&lt;/span&gt; &lt;span data-paragraph-id="32633" data-sentence-id="33119" class="ldml-sentence"&gt;Jurors are frequently tasked with making factual determinations on matters of some complexity, and &lt;span class="ldml-entity"&gt;we&lt;/span&gt; have confidence that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; would be able to do so in many securities matters as well.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="33305" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="33305" data-sentence-id="33305" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_33305"&gt;&lt;span class="ldml-cite"&gt;¶49&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Turning then to the facts now before &lt;span class="ldml-entity"&gt;us&lt;/span&gt;, and with the foregoing principles in mind, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; believe that the admissibility of Commissioner Rome's testimony presents a close question.&lt;/span&gt; &lt;span data-paragraph-id="33305" data-sentence-id="33487" class="ldml-sentence"&gt;Nonetheless, for several reasons, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; cannot say that the admission of this testimony constituted reversible error.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="33601" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="33601" data-sentence-id="33601" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_33601"&gt;&lt;span class="ldml-cite"&gt;¶50&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; First, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; perceive no abuse of discretion in &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s finding that Commissioner Rome's testimony was reliable and relevant, as &lt;span class="ldml-entity"&gt;we&lt;/span&gt; have defined those terms for purposes of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 702&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="33601" data-sentence-id="33794" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_33601" data-refglobal="case:inrethepeopleofthestateofcoloradovshreckno00sa10522p3d68april23,2001"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Shreck&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;22 P.3d at 77&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="33601" data-sentence-id="33822" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The parties&lt;/span&gt; do not appear to dispute that Commissioner Rome's general testimony as to securities law principles was correct or that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was qualified to opine on such matters.&lt;/span&gt; &lt;span data-paragraph-id="33601" data-sentence-id="33997" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_33822" data-refglobal="case:inrethepeopleofthestateofcoloradovshreckno00sa10522p3d68april23,2001"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="33601" data-sentence-id="34001" class="ldml-sentence"&gt;Nor do &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; appear to dispute that the Commissioner's testimony assisted the jury in understanding the evidence or determining facts in issue.&lt;/span&gt; &lt;span data-paragraph-id="33601" data-sentence-id="34151" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_34001" data-refglobal="case:inrethepeopleofthestateofcoloradovshreckno00sa10522p3d68april23,2001"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="34154" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="34154" data-sentence-id="34154" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_34154"&gt;&lt;span class="ldml-cite"&gt;¶51&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Second, on &lt;span class="ldml-entity"&gt;the facts presented&lt;/span&gt; here, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; do not believe that Commissioner Rome's testimony violated &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 704&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; or improperly usurped the jury's role, even to the extent that the Commissioner opined that the transaction at issue was an investment contract and therefore a security and testified as to principles of materiality.&lt;/span&gt; &lt;span data-paragraph-id="34154" data-sentence-id="34481" class="ldml-sentence"&gt;As noted above, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; assess the admissibility of testimony under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 704&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; pursuant to the factors set forth in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894785282" data-vids="894785282" class="ldml-reference" data-prop-ids="sentence_34481"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Rector&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;248 P.3d at 1203&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="34154" data-sentence-id="34615" class="ldml-sentence"&gt;Applying those factors here, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; note that Commissioner Rome's testimony was clarified in defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s cross-examination, which addressed, among other things, the definition of an investment contract; the meaning of materiality; the limited facts on which the Commissioner had based his opinions &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-signal"&gt;e.g.&lt;/span&gt;, that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; did not interview either Lawrence or D.B. and that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had no knowledge of D.B.'s background and experience in business or in the surveillance industry)&lt;/span&gt;; and the Commissioner's potential bias, given that his office had initially investigated D.B.'s complaint and then referred the matter to the district attorney for &lt;span class="ldml-entity"&gt;prosecution&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="35258" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="35258" data-sentence-id="35258" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_35258"&gt;&lt;span class="ldml-cite"&gt;¶52&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; In addition, Commissioner Rome never expressed an opinion of the applicable law or legal standards.&lt;/span&gt; &lt;span data-paragraph-id="35258" data-sentence-id="35362" class="ldml-sentence"&gt;Rather, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; simply provided a general overview of the applicable law and offered examples to help explain the concepts.&lt;span class="ldml-pagenumber" data-vol="486" data-rep="P.3d" data-id="pagenumber_35480" data-page_type="bracketed_cite" data-val="280"&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="35480" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="35480" data-sentence-id="35481" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_35481"&gt;&lt;span class="ldml-cite"&gt;¶53&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; also advised the jury that the instructions &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; was providing contained the rules of law that the jury was to apply to reach its verdicts.&lt;/span&gt; &lt;span data-paragraph-id="35480" data-sentence-id="35646" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; further provided definitions of a security, an investment contract, and materiality.&lt;/span&gt; &lt;span data-paragraph-id="35480" data-sentence-id="35741" class="ldml-sentence"&gt;And &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; told the jury that it could believe all of the testimony of a witness, part of it, or none of it, and that the jury was not bound by the testimony of expert witnesses but rather was to weigh such testimony as that of any other witness and could determine the weight to be given that testimony.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="36048" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="36048" data-sentence-id="36048" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_36048"&gt;&lt;span class="ldml-cite"&gt;¶54&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; And lastly, Commissioner Rome did not opine that Lawrence committed any crime or that there was a particular likelihood that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; did so.&lt;/span&gt; &lt;span data-paragraph-id="36048" data-sentence-id="36188" class="ldml-sentence"&gt;This is true even though &lt;span class="ldml-entity"&gt;he&lt;/span&gt; testified that the agreement at issue was an investment contract and therefore a security, and even though &lt;span class="ldml-entity"&gt;he&lt;/span&gt; discussed the principle of materiality.&lt;/span&gt; &lt;span data-paragraph-id="36048" data-sentence-id="36366" class="ldml-sentence"&gt;As to the first point, although Commissioner Rome indisputably provided an opinion as to one element of the securities fraud charges, those charges were presented, in full, to the jury for its determination, and the jury was expressly instructed that it was free to disregard all of Commissioner Rome's testimony.&lt;/span&gt; &lt;span data-paragraph-id="36048" data-sentence-id="36680" class="ldml-sentence"&gt;As to the second point, Commissioner Rome did not express an opinion that the omissions in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; were material.&lt;/span&gt; &lt;span data-paragraph-id="36048" data-sentence-id="36796" class="ldml-sentence"&gt;Indeed, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; precluded him from offering such an opinion.&lt;/span&gt; &lt;span data-paragraph-id="36048" data-sentence-id="36865" class="ldml-sentence"&gt;Instead, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; simply expounded on the general principle of materiality, and &lt;span class="ldml-entity"&gt;he&lt;/span&gt; provided hypothetical examples of the types of misrepresentations or omissions that might be material.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="37044" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="37044" data-sentence-id="37044" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_37044"&gt;&lt;span class="ldml-cite"&gt;¶55&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; For these reasons, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that Commissioner Rome's testimony did not violate &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 704&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; or usurp either &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s or the jury's role.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="37185" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="37185" data-sentence-id="37186" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_37186"&gt;&lt;span class="ldml-cite"&gt;¶56&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Even if one could say, however, that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; may have abused its discretion in allowing Commissioner Rome to testify that the agreement at issue was an investment contract and to explain the concept of materiality, on &lt;span class="ldml-entity"&gt;the facts presented&lt;/span&gt; here, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; would conclude that any such error was harmless.&lt;/span&gt; &lt;span data-paragraph-id="37185" data-sentence-id="37494" class="ldml-sentence"&gt;Substantial, if not overwhelming, evidence supported the jury's findings that the transaction involved an investment contract and therefore a security, and that Lawrence's omissions were material.&lt;/span&gt; &lt;span data-paragraph-id="37185" data-sentence-id="37691" class="ldml-sentence"&gt;Moreover, in his briefs before &lt;span class="ldml-entity"&gt;us&lt;/span&gt;, Lawrence's argument as to prejudice principally boiled down to a claim that Commissioner Rome's testimony was cumulative of other testimony and thus unnecessary.&lt;/span&gt; &lt;span data-paragraph-id="37185" data-sentence-id="37888" class="ldml-sentence"&gt;Even if true, the mere fact of such cumulative testimony does not persuade &lt;span class="ldml-entity"&gt;us&lt;/span&gt; that any error in admitting that testimony affected Lawrence's substantial rights.&lt;/span&gt; &lt;span data-paragraph-id="37185" data-sentence-id="38049" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895257365" data-vids="895257365" class="ldml-reference" data-prop-ids="sentence_37888"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Hagos v. People&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;2012 CO 63&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_37888"&gt;&lt;span class="ldml-cite"&gt;¶ 12&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895257365" data-vids="895257365" class="ldml-reference" data-prop-ids="embeddedsentence_38108"&gt;&lt;span class="ldml-cite"&gt;288 P.3d 116, 119&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;noting&lt;/span&gt; that under the harmless error standard, reversal is required only if the error affected the substantial rights of &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 52&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(same)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="38265" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="38265" data-sentence-id="38265" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_38265"&gt;&lt;span class="ldml-cite"&gt;¶57&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Accordingly, even if the admission of Commissioner Rome's testimony could be said to have been erroneous, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; would conclude that any such error was harmless and thus not reversible error.&lt;/span&gt; &lt;span data-paragraph-id="38265" data-sentence-id="38457" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt; &lt;i class="ldml-italics"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895257365" data-vids="895257365" class="ldml-reference" data-prop-ids="sentence_38265"&gt;&lt;span class="ldml-refname"&gt;Hagos&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_38265"&gt;&lt;span class="ldml-cite"&gt;¶ 12&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895257365" data-vids="895257365" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;288 P.3d at 119&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 52&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-format="upper_case_letters" data-id="heading_38508" data-ordinal_start="3" data-specifier="C" data-parsed="true" data-value="C. Remedy" data-ordinal_end="3" id="heading_38508" data-content-heading-label="C. Remedy"&gt;&lt;span data-paragraph-id="38508" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="38508" data-sentence-id="38508" class="ldml-sentence"&gt;C.&lt;/span&gt; &lt;span data-paragraph-id="38508" data-sentence-id="38511" class="ldml-sentence"&gt;Remedy&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="38517" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="38517" data-sentence-id="38518" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_38518"&gt;&lt;span class="ldml-cite"&gt;¶58&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Finally, as noted above, although &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; agree that under &lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887091528" data-vids="887091528" class="ldml-reference" data-prop-ids="sentence_38518"&gt;&lt;span class="ldml-refname"&gt;Stellabotte&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_38518"&gt;&lt;span class="ldml-cite"&gt;¶ 3&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887091528" data-vids="887091528" class="ldml-reference" data-prop-ids="sentence_38518"&gt;&lt;span class="ldml-cite"&gt;421 P.3d at 175-76&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, Lawrence is entitled to the ameliorative benefit of &lt;span class="ldml-entity"&gt;the amendments&lt;/span&gt; to the theft &lt;span class="ldml-entity"&gt;statute&lt;/span&gt; and that his class 4 felony theft conviction cannot stand, &lt;span class="ldml-entity"&gt;they&lt;/span&gt; disagree as to the proper remedy.&lt;/span&gt; &lt;span data-paragraph-id="38517" data-sentence-id="38809" class="ldml-sentence"&gt;Lawrence contends that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; can only stand convicted of a class 1 misdemeanor because, in his view, that is the only degree of theft undeniably supported by the jury's verdict.&lt;/span&gt; &lt;span data-paragraph-id="38517" data-sentence-id="38984" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The People&lt;/span&gt;, in contrast, contend that because, under the amended theft &lt;span class="ldml-entity"&gt;statute&lt;/span&gt;, the jury's verdict could support convictions ranging from a class 1 misdemeanor to a class 5 felony, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; can either elect to have &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; on remand enter a conviction for the class 1 misdemeanor or proceed to a retrial limited to a determination of the amount of money improperly taken from D.B.&lt;/span&gt; &lt;span data-paragraph-id="38517" data-sentence-id="39369" class="ldml-sentence"&gt;Like the division below, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; do not agree with either approach.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="39431" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="39431" data-sentence-id="39432" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_39432"&gt;&lt;span class="ldml-cite"&gt;¶59&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; review the propriety of an appellate remedy de novo.&lt;/span&gt; &lt;span data-paragraph-id="39431" data-sentence-id="39492" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_39432" data-refglobal="case:core–markmidcontinentincvsonitrolcorp,2016coa22"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Core-Mark Midcontinent Inc. v. Sonitrol Corp.&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;2016 COA 22&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_39432"&gt;&lt;span class="ldml-cite"&gt;¶ 29&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891947071" data-vids="891947071" class="ldml-reference" data-prop-ids="embeddedsentence_39582"&gt;&lt;span class="ldml-cite"&gt;370 P.3d 353, 359&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;observing&lt;/span&gt; that a question regarding the scope of a remand order presents an issue that &lt;span class="ldml-entity"&gt;the appellate court&lt;/span&gt; reviews de novo&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;span class="ldml-pagenumber" data-vol="486" data-rep="P.3d" data-id="pagenumber_39716" data-page_type="bracketed_cite" data-val="281"&gt;&lt;/span&gt; &lt;/i&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peoplevstruckmeyer,2020co76"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Struckmeyer&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;2020 CO 76&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;¶ 3&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888748231" data-vids="888748231" class="ldml-reference" data-prop-ids="embeddedsentence_39774"&gt;&lt;span class="ldml-cite"&gt;474 P.3d 57, 58&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;noting&lt;/span&gt; that &lt;span class="ldml-entity"&gt;we&lt;/span&gt; review questions of law de novo&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="39822" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="39822" data-sentence-id="39822" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_39822"&gt;&lt;span class="ldml-cite"&gt;¶60&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; In &lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887091528" data-vids="887091528" class="ldml-reference" data-prop-ids="sentence_39822"&gt;&lt;span class="ldml-refname"&gt;Stellabotte&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_39822"&gt;&lt;span class="ldml-cite"&gt;¶ 3&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887091528" data-vids="887091528" class="ldml-reference" data-prop-ids="sentence_39822"&gt;&lt;span class="ldml-cite"&gt;421 P.3d at 175-76&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; concluded that ameliorative, amendatory &lt;span class="ldml-entity"&gt;legislation&lt;/span&gt; applies retroactively to non-final convictions for theft unless &lt;span class="ldml-entity"&gt;the amendment&lt;/span&gt; contains language indicating that it applies only prospectively.&lt;/span&gt; &lt;span data-paragraph-id="39822" data-sentence-id="40065" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; further concluded that because &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; committed the thefts at issue before &lt;span class="ldml-entity"&gt;the amendment&lt;/span&gt; to the theft &lt;span class="ldml-entity"&gt;statute&lt;/span&gt; but was convicted and sentenced thereafter, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was entitled to be resentenced in accordance with the amended &lt;span class="ldml-entity"&gt;statute&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="39822" data-sentence-id="40303" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887091528" data-vids="887091528" class="ldml-reference" data-prop-ids="sentence_40303"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; at &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_40303"&gt;&lt;span class="ldml-cite"&gt;¶ 36&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887091528" data-vids="887091528" class="ldml-reference" data-prop-ids="sentence_40303"&gt;&lt;span class="ldml-cite"&gt;421 P.3d at 181&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="40332" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="40332" data-sentence-id="40332" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_40332"&gt;&lt;span class="ldml-cite"&gt;¶61&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Here, when Lawrence committed the theft for which &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was ultimately convicted, the theft &lt;span class="ldml-entity"&gt;statute&lt;/span&gt; made it a class 4 felony to steal something valued at $1,000 or more but less than $20,000.&lt;/span&gt; &lt;span data-paragraph-id="40332" data-sentence-id="40525" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_40332"&gt;&lt;span class="ldml-cite"&gt;§ 18-4-401&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(c)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2012&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="40332" data-sentence-id="40558" class="ldml-sentence"&gt;By the time of his trial, however, &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt; had amended the theft &lt;span class="ldml-entity"&gt;statute&lt;/span&gt; such that theft was a class 1 misdemeanor if the value of the thing involved was $750 or more but less than $2,000; a class 6 felony if the value was $2,000 or more but less than $5,000; and a class 5 felony if the value was $5,000 or more but less than $20,000.&lt;/span&gt; &lt;span data-paragraph-id="40332" data-sentence-id="40902" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_40558"&gt;&lt;span class="ldml-cite"&gt;§ 18-4-401&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(e)&lt;/span&gt;-&lt;span class="ldml-parenthetical"&gt;(g)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="40332" data-sentence-id="40924" class="ldml-sentence"&gt;Accordingly, depending on the evidence, the jury's verdict in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; could have supported convictions for either a class 1 misdemeanor, a class 6 felony, or a class 5 felony.&lt;/span&gt; &lt;span data-paragraph-id="40332" data-sentence-id="41102" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_40924"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="40332" data-sentence-id="41106" class="ldml-sentence"&gt;The question thus becomes the proper remedy.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="41150" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="41150" data-sentence-id="41150" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_41150"&gt;&lt;span class="ldml-cite"&gt;¶62&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; As the division correctly recognized, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887091528" data-vids="887091528" class="ldml-reference" data-prop-ids="sentence_41150"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Stellabotte&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; did not have to provide an answer to this question.&lt;/span&gt; &lt;span data-paragraph-id="41150" data-sentence-id="41256" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; must do so now, however, because here, unlike in &lt;span class="ldml-entity"&gt;that case&lt;/span&gt;, the value of the amount stolen is disputed, with &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; contending that Lawrence stole the entirety of D.B.'s $9,000 and Lawrence asserting that at least some of that money was used for legitimate business purposes.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="41538" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="41538" data-sentence-id="41538" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_41538"&gt;&lt;span class="ldml-cite"&gt;¶63&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; On &lt;span class="ldml-entity"&gt;these facts&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; are not persuaded by Lawrence's contention that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; is entitled on remand to the entry of a judgment of conviction for a class 1 misdemeanor.&lt;/span&gt; &lt;span data-paragraph-id="41538" data-sentence-id="41702" class="ldml-sentence"&gt;Although it is true that the only theft amount that &lt;span class="ldml-entity"&gt;we&lt;/span&gt; know for certain that the jury found is the minimum charged value of $1,000, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; perceive no basis for ignoring the fact that the jury's verdict might also have reflected a finding of a theft of up to $9,000.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="41964" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="41964" data-sentence-id="41965" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_41965"&gt;&lt;span class="ldml-cite"&gt;¶64&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt;, however, are also unpersuaded by &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;'s assertion that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; are entitled either to accept the entry of judgment for a class 1 misdemeanor or to conduct a new trial limited only to the amount of money improperly taken from D.B. &lt;span class="ldml-parenthetical"&gt;(as opposed to a new trial on the theft count as a whole)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="41964" data-sentence-id="42265" class="ldml-sentence"&gt;In criminal &lt;span class="ldml-entity"&gt;cases&lt;/span&gt;, &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt;'s constitutional right to a trial by jury allows a conviction only on a verdict finding &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; guilty of having committed every element of the crime charged.&lt;/span&gt; &lt;span data-paragraph-id="41964" data-sentence-id="42461" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_42265" data-refglobal="case:peoplevoliver,2018coa146"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Oliver&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;2018 COA 146&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_42265"&gt;&lt;span class="ldml-cite"&gt;¶ 17&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895633308" data-vids="895633308" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;452 P.3d 112, 115&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="41964" data-sentence-id="42518" class="ldml-sentence"&gt;In theft &lt;span class="ldml-entity"&gt;cases&lt;/span&gt;, the value of the property at issue is part of the offense charged, and &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; must prove that value beyond a reasonable doubt.&lt;/span&gt; &lt;span data-paragraph-id="41964" data-sentence-id="42670" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889101606" data-vids="889101606" class="ldml-reference" data-prop-ids="sentence_42518"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Simpson&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;2012 COA 156&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_42518"&gt;&lt;span class="ldml-cite"&gt;¶ 20&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889101606" data-vids="889101606" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;292 P.3d 1153, 1156&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;accord&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:inrethepeopleofthestateofcoloradovtafoyacaseno18sa224434p3d1193february19,2019"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Tafoya&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;2019 CO 13&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;¶ 28&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:inrethepeopleofthestateofcoloradovtafoyacaseno18sa224434p3d1193february19,2019"&gt;&lt;span class="ldml-cite"&gt;434 P.3d 1193, 1197&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="41964" data-sentence-id="42796" class="ldml-sentence"&gt;Accordingly, notwithstanding &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;'s contention to the contrary, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; perceive no basis for allowing a retrial on only one component of the charged offense, and &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; cite no applicable authority to suggest otherwise.&lt;/span&gt; &lt;span data-paragraph-id="41964" data-sentence-id="43022" class="ldml-sentence"&gt;As a result, if &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; wish to try Lawrence again on the theft charge, then &lt;span class="ldml-entity"&gt;they&lt;/span&gt; must try the entire charge, not just the portion of the charge relating to the value of the money taken.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="43211" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="43211" data-sentence-id="43211" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_43211"&gt;&lt;span class="ldml-cite"&gt;¶65&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; To conclude otherwise would violate Lawrence's right to a jury trial and would present a litany of other constitutional and practical problems.&lt;/span&gt; &lt;span data-paragraph-id="43211" data-sentence-id="43359" class="ldml-sentence"&gt;For example, would the jury be instructed that Lawrence has already been convicted?&lt;/span&gt; &lt;span data-paragraph-id="43211" data-sentence-id="43443" class="ldml-sentence"&gt;Such an instruction would arguably violate Lawrence's constitutional presumption of innocence.&lt;/span&gt; &lt;span data-paragraph-id="43211" data-sentence-id="43538" class="ldml-sentence"&gt;And what would happen if the jury considered only the value question and found that $0 was taken?&lt;/span&gt; &lt;span data-paragraph-id="43211" data-sentence-id="43636" class="ldml-sentence"&gt;Lawrence's conviction for theft, which presumably had already been decided, assuredly could not then stand.&lt;/span&gt; &lt;span data-paragraph-id="43211" data-sentence-id="43744" class="ldml-sentence"&gt;But the merits of the conviction would not be before &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="43807" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="43807" data-sentence-id="43807" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_43807"&gt;&lt;span class="ldml-cite"&gt;¶66&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; therefore conclude that on remand, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; may either elect to retry Lawrence on the felony theft claim or agree to the entry of a conviction for a class 1 misdemeanor theft.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-specifier="III" data-id="heading_43991" data-types="conclusion" data-confidences="very_high" data-ordinal_start="3" data-parsed="true" data-format="upper_case_roman_numeral" data-value="III. Conclusion" data-ordinal_end="3" id="heading_43991" data-content-heading-label="III. Conclusion"&gt;&lt;span data-paragraph-id="43991" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="43991" data-sentence-id="43991" class="ldml-sentence"&gt;III.&lt;/span&gt; &lt;span data-paragraph-id="43991" data-sentence-id="43996" class="ldml-sentence"&gt;Conclusion&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="44006" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="44006" data-sentence-id="44006" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_44006"&gt;&lt;span class="ldml-cite"&gt;¶67&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; For the foregoing reasons, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that Lawrence's agreement with D.B. &lt;span class="ldml-pagenumber" data-vol="486" data-rep="P.3d" data-id="pagenumber_44085" data-page_type="bracketed_cite" data-val="282"&gt;&lt;/span&gt; constituted an investment contract and therefore sufficient evidence supported Lawrence's securities fraud convictions.&lt;/span&gt; &lt;span data-paragraph-id="44006" data-sentence-id="44206" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; further conclude that the admission of Commissioner Rome's expert testimony did not constitute reversible error.&lt;/span&gt; &lt;span data-paragraph-id="44006" data-sentence-id="44322" class="ldml-sentence"&gt;And &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that on remand, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; may elect either to retry Lawrence on the theft charge as a whole or to agree to the entry of a conviction for a class 1 misdemeanor theft.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="44504" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="44504" data-sentence-id="44504" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_44504"&gt;&lt;span class="ldml-cite"&gt;¶68&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; affirm the judgment of the division below.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-notes content__heading content__heading--depth1" data-content-heading-label="Footnotes"&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="44566" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr1" class="ldml-notemarker" id="note-fr1"&gt;1&lt;/a&gt; &lt;span data-paragraph-id="44566" data-sentence-id="44567" class="ldml-sentence"&gt;Specifically, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; granted certiorari to review the following issues:&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;blockquote data-paragraph-id="b_44634" class="ldml-blockquote"&gt;&lt;span data-sentence-id="44634" class="ldml-sentence"&gt;1.&lt;/span&gt; &lt;span data-sentence-id="44637" class="ldml-sentence"&gt;Whether, in a securities fraud case where the key issue at trial is whether an investment is a security, an expert improperly testifies to the ultimate issue by opining on the law and applying the law to the facts to conclude that the investment was a security.&lt;/span&gt;&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_44898" class="ldml-blockquote"&gt;&lt;span data-sentence-id="44898" class="ldml-sentence"&gt;2.&lt;/span&gt; &lt;span data-sentence-id="44901" class="ldml-sentence"&gt;Whether an investment in a company, where the investor intends to be an active participant in decision-making and an employee of the company, is an &lt;span class="ldml-quotation quote"&gt;"investment contract"&lt;/span&gt; subject to securities laws.&lt;/span&gt;&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_45098" class="ldml-blockquote"&gt;&lt;span data-sentence-id="45098" class="ldml-sentence"&gt;3.&lt;/span&gt; &lt;span data-sentence-id="45101" class="ldml-sentence"&gt;Whether &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt;, who is entitled to the ameliorative benefit of &lt;span class="ldml-entity"&gt;the amendments&lt;/span&gt; to the theft &lt;span class="ldml-entity"&gt;statute&lt;/span&gt;, should be entitled to the entry of a conviction for the degree of theft supported by the jury's verdict, or whether &lt;span class="ldml-entity"&gt;he&lt;/span&gt; should be subjected to a new theft trial.&lt;/span&gt;&lt;/blockquote&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;
 &lt;/div&gt;
&lt;/div&gt;